Case 1:19-cv-00067-LO-MSN Document 51 Filed 09/17/19 Page 1 of 3 PageID# 554




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 CODE-TO-LEARN FOUNDATION D/B/A
 SCRATCH FOUNDATION,

      Plaintiff,
                                                Civil Action No. 1:19-cv-67-LO-MSN
 v.

 SCRATCH.ORG, an Internet domain name,

      Defendant.


         STIPULATED MOTION FOR ENTRY OF A PROTECTIVE ORDER

      Plaintiff Code-to-Learn Foundation d/b/a Scratch Foundation and Defendant

SCRATCH.ORG, through undersigned counsel, hereby jointly move the Court or entry

of the attached protective order in the above-captioned case.       The parties hereby

respectfully request the Court approve and enter the same.
Case 1:19-cv-00067-LO-MSN Document 51 Filed 09/17/19 Page 2 of 3 PageID# 555



       Respectfully submitted this the 17th day of September 2019.

    WILEY REIN LLP                                      DUNLAP BENNETT & LUDWIG PLLC


By: /s/ Attison L. Barnes, III /s/                   By: /s/ David Ludwig /s/
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    Code-to-Learn Foundation d/b/a                      SCRATCH.ORG
    Scratch Foundation




                                                 2
Case 1:19-cv-00067-LO-MSN Document 51 Filed 09/17/19 Page 3 of 3 PageID# 556



                                CERTIFICATE OF SERVICE

       I, Attison L. Barnes, III, hereby certify that on September 17, 2019, I filed the foregoing

using the Court’s CM/ECF system, which will cause a copy to be served on all counsel of record.




                                                      /s/ Attison L. Barnes, III /s/
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